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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION
JANET HILL,                                  )
                                             )
      Plaintiff,                             )
                                             )      CIVIL ACTION FILE
v.                                           )      NO. 1:21-cv-03750-WMR-CCB
                                             )
COMMUNITY LOAN SERVICING f/k/a               )
BAYVIEW LOAN SERVICING, and                  )
SHELLPOINT MORTGAGE                          )
SERVICING,                                   )
                                             )
                                             )
      Defendants.                            )
                                             )

     DEFENDANTS’ RESPONSE AND OPPOSITION TO PLAINTIFF’S
             PRO SE MOTION TO REMAND [DOC. 17]

      Defendants Community Loan Servicing f/k/a Bayview Loan Servicing

(“Bayview”) and NewRez, LLC d/b/a Shellpoint Mortgage Servicing (“Shellpoint”

and collectively “Defendants”), by and through their undersigned counsel, and

pursuant to Local Rule 6 file this Response and Opposition to Plaintiff’s pro se

Motion to Remand [Doc. 17] as follows:

                              Factual Background

      This case was originally filed by Plaintiff – through counsel - in the Superior

Court of Fulton County, Georgia on August 2, 2021. [Doc. 1-1, Ex. A].


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      On September 10, 2021, Defendants timely removed the case to this Court.

[Doc. 1].

      On September 17, 2021, Defendants filed a motion to dismiss and a motion to

stay. [Docs. 4, 5].

      On October 7, 2021, Plaintiff – through counsel – filed a response to

Defendants’ motion to dismiss. [Doc. 9].

      On October 7, 2021, this Court granted Defendants’ motion to stay. [Doc. 10].

      On October 15, 2021, Plaintiff – pro se – filed a motion seeking additional

time from this court. [Doc. 12].

      On October 29, 2021, this Court held a hearing and Magistrate Judge Bly

made clear that the Court will not consider pro se filed motions when the party is

represented by counsel. [Doc. 13]. The Court has issued orders consistent with that

position. [Docs. 13, 16].

      Undaunted, on November 15, 2021, the Plaintiff – pro se – filed a motion

seeking to remand this case back to the state court. [Doc. 17].

      On November 22, 2021 the Plaintiff filed a motion to withdraw her attorney(s)

of record. [Docs. 18, 19].

      As of the date of this filing, Plaintiff is still represented by counsel as this

Court has not permitted Plaintiff’s counsel of record to withdraw from this case.


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                       Argument and Citation to Authority

      The Court has the inherent power to control its docket and litigants in order to

maintain judicial efficiency. See Martin-Trigona v. Shaw, 986 F.2d 1384, 1386-87

(11th Cir. 1993) (“Federal courts have both the inherent power and the constitutional

obligation to protect their jurisdiction from conduct with impairs their ability to carry

out Article III functions”); Edelen v. Campbell Soup Co., 265 F.R.D. 676, 690 (N.D.

Ga. 2010) (internal citations omitted) (“courts may enter orders or injunctions

appropriate to protect both the courts and the rights of litigants in the federal

system”).

      This Court has repeatedly denied pro se motions filed by individuals who are

represented by counsel. See Durden v. State Farm Fire & Cas. Co., No. 1:15-CV-

3971-WSD, 2017 WL 3723118, at *6 (N.D. Ga. Aug. 29, 2017)(“ Plaintiffs' Pro Se

Motions are denied for failure to comply with Local Rule 83.1(D)(2).”); Way v. Sims,

No. 1:08-cv-3849, 2009 WL 10670654, at *5 (N.D. Ga. Dec. 14, 2009) (denying a

pro se motion for reconsideration for failure to comply with Local Rule 83.1(D)(2)).

      In this case, Plaintiff continues to clog the Court’s docket with pro se filings

when the Court has made it clear that such motions will not be considered as she is

represented by counsel. [Docs. 13, 16]. Currently pending before this Court is

Plaintiff’s pro se motion to remand. [Doc. 17]. As of the date of this filing, Plaintiff


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is still represented by counsel as this Court has not permitted Plaintiff’s counsel of

record to withdraw from this case. LR 83.1(D)(2), 83.1(E)(2)(d), NDGa. As a matter

of law, Plaintiff may not yet appear or act pro se in this action. LR 83.1(D)(2),

NDGa. Therefore, this Court should deny Plaintiff’s pro se motion to remand since

this Court has not permitted Plaintiff’s counsel of record to withdraw from this case

to date. LR 83.1(D)(2), 83.1(E)(2)(d), NDGa.

      In the alternative, should this Court consider the merit’s of Plaintiff’s pro se

motion to remand [Doc. 17] and/or grant the Plaintiff’s motion to withdraw her

attorney(s) of record [Docs. 18, 19], then Defendants respectfully request that this

Court grant Defendants fourteen (14) days from the date of such Order to timely file

a substantive response and opposition to the Plaintiff’s pro se motion to remand

[Doc. 17].

                                    Conclusion

      Defendants request the Court deny Plaintiff’s pro se motion to remand [Doc.

17], or in the alternative Court grant Defendants fourteen (14) days from the date of

an Order on Plaintiff’s motion to withdraw her attorney(s) of record [Docs. 18, 19]

to timely file a substantive response and opposition to the Plaintiff’s pro se motion

to remand [Doc. 17].




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       Respectfully submitted this 24th day of November, 2021.

                               /s/ Keith S. Anderson
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                               ATTORNEY FOR DEFENDANT NEWREZ, LLC
                               D/B/A SHELLPOINT MORTGAGE SERVICING

                               /s/ Allison Rhadans
                               Allison Rhadans
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                               McGuireWoods LLP
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               FOR THE NORTHERN DISTRICT OF GEORGIA
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JANET HILL,                    )
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    Plaintiff,                 )
                               )    CIVIL ACTION FILE
v.                             )    NO. 1:21-cv-03750-WMR
                               )
COMMUNITY LOAN SERVICING f/k/a )
BAYVIEW LOAN SERVICING, and    )
SHELLPOINT MORTGAGE            )
SERVICING,                     )
                               )
                               )
    Defendants.                )
                               )
         CERTIFICATE OF SERVICE, FONT AND MARGINS

      I hereby certify that on the undersigned date, I electronically filed the

foregoing DEFENDANT’S RESPONSE AND OPPOSITION TO PLAINTIFF’S

PRO SE MOTION TO REMAND [DOC. 17] with the Clerk of the Court using the

CM/ECF System, which will electronically deliver a copy to counsel of record, and

served a true and correct copy of same on the undersigned individual(s) via First-

Class Mail, postage prepaid, addressed to:

                                    Janet Hill
                               543 Auburn Avenue
                                Atlanta, GA 30312

                              Ricardo Mosby, Esq.
                           The Mosby Law Firm PC
                         260 Peachtree Street Suite 1403
                               Atlanta, GA 30303


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                            Keith S. Anderson, Esq.
                      Bradley Arant Boult Cummings LLP
                              One Federal Place
                           1819 Fifth Avenue North
                         Birmingham, Alabama 35203


      I further certify that I prepared this document in 14 point Times New Roman

font and complied with the margin and type requirements of this Court.

      This 24th day of November, 2021.

                                     /s/ Allison Rhadans
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